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                          LINITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                              Criminal No. ?o -c-&- tZs Cilnut)


 TINITED STATES OF AMERICA.

                      Plaintiff,                   PLEA AGREEMENT AIID
                                                   SENTENCING STIPULATIONS
               v.

 MATTI{EW SCOTT WHITE,                         )
                                               )
                      Defendant.               )

       The United States of America and MATTIIEW SCOTT WHITE (hereinafter

referred to as the "defendant") agree to resolve this case on the terms and conditions that

follow. This Plea Agreement binds only the defendant     and the United States Attorney's

Office for the District of Minnesota. This Agreement does not bind any other United States

Attomey's Office or any other federal or state agency.

       1.     Charses. The defendant agrees to plead guilty to Counts 1 of the Information

charging him Arson: Malicious Destruction of a Building used in Interstate Commerce by

Means of Fire and Explosives Material, in violation of 18 U.S.C. $ S44(i).

       2.     Stipulated Facts. The defendant stipulates and agrees to the following facts

and further agrees that, were this matter to go to trial, the United States would prove the

following facts beyond a reasonable doubt: On or about May 28, 2020, the defendant

entered the Enterprise Rent-A-Car ("Enterprise building") located      at 116I University

Avenue West, St. Paul, Minnesota. Enterprise Rent-A-Car is a car rental business that is

headquartered in St. Louis Missouri which operates fleet of more


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from 10,000 offices around the world. While inside the Enterprise building, the defendant

and   a   juvenile accomplice maliciously started a fire inside   a   back office. After starting the

fire, the defendant and juvenile accomplice fueled the fire by throwing papers and other

flammable items onto the flames. As the defendant exited the building, he told bystanders

that the building was "going up" meaning, it was going to burn. The defendant stipulates

and agrees that he maliciously destroyed the Enterprise building; that he did so by means

of fire; that at the time of the fire, the Enterprise building was used in interstate commerce

orwasusedinanactivityaffectinginterstatecommerce;,Etltt
                                                                                                        -\
                                                             ; that he acted voluntarily, and    that   \X3
he knew his actions violated the      law.                                                                tt
           3.     Statutorv Penalties. Count 1 of the Information ca:ries the following

statutory penalties:

                  a.     a maximum of 20 years' imprisonment;

                  b.     a   mandatory minimum of 5 years' imprisonment

                  c.     a supervised release   term of not more than 3 years;

                  d.     a   fine of up to $250,000; and

                  e.     a   mandatory special assessment of $100.

           4.     Revocation of Supervised Release. The defendant understands that, if he

were to violate any condition of supervised release, he could be sentenced to an additional




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term of imprisonment up to the length of the original supervised release term, subject to

the statutory maximums set forth in 18 U.S.C. $ 3583.

       5.                                      The defendant agrees to be sentenced in
              ry.
accordance with the Federal Sentencing Act, 18 U.S.C. $$ 355I, et seq., with reference to

the applicable United States Sentencing Guidelines ("USSG" or "Guidelines"). Nothing in

this plea agreement should be construed to limit the parties from presenting any and all

relevant evidence to the Court at sentencing. The parties also acknowledge the Court     will

consider the United States Sentencing Guidelines in determining the appropriate sentence

and stipulate to the following guideline calculations:

              a.   Base Offense Level. The Parties agree that the base offense level is 24
                   because the offense involved the destruction of a place of public use.
                   u.s.s.G.   $ 2K1.4(a)(1).

              b.   Specific Offense Characteristics. The Parties agree that no specific
                   offense enhancements apply.

                   Chapter Three Adjustments. The parties agree that other than Acceptance
                   of Responsibility, no Chapter 3 adjustments apply.

              d. Acceptance     of Responsibility. The Government agrees to recommend
                   that the defendant receive a 3-level reduction for acceptance of
                   responsibility and to make any appropriate motions with the Court.
                   However, the defendant understands and agrees that this recommendation
                   is conditioned upon the following: (i) the defendant testifies truthfully
                   during the change of plea hearing; (ii) the defendant cooperates with the
                   Probation Office in the pre-sentence investigation; and (iii) the defendant
                   commits no further acts inconsistent with acceptance of responsibility.
                   ussc $ 3E1.1.
              e.   Criminal History Cateeory. Based on the information currently available
                   to the parties, the defendant appears to have a criminal history category
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                   of   VI.This does not constitute a stipulation, but a belief based on an
                   assessment  of the information currently known. The defendant's actual
                   criminal history will be determined by the Court based on the information
                   presented in the Presentence Report and by the parties at the time of
                   sentencing.

                   Guideline Range. If the Total Offense Level is 21 (Base offense level24,
                   decreased by 3 levels for acceptance of responsibility), the effective
                   Guideline Range for Count 1 is to 77-96 months' imprisonment (with a
                   mandatory minimum of 60 months).

              g    Fine Ranre. If the total offense level is 21, the fine range is $15,000 to
                   $150,000. u.s.s.G. s 5E1.2.

              h.   Supervised Release. The Sentencing Guidelines call for a term of
                   supervised release of at least two years but not more than five years.
                   ussG $ sD1.2(a)(1).

              i.   Sentencing Recommendations and Departures. The Parties reserve the
                   right to make a motion for departures from the applicable guideline and
                   to oppose any such motion made by the opposing party. The Parties
                   reserve the right to argue for a sentence outside the applicable guideline.

       6.     Discretion of the Court. The foregoing stipulations are binding on the

parties, but do not bind the Court. The parties understand that the Sentencing Guidelines

are advisory and their application is a matter that falls solely   within the Court's discretion.

The Court may make its own determinations regarding the applicable Guidelines factors

and the applicable criminal history category. The Court may also depart from the

applicable Guidelines.        If the Court determines   that the applicable advisory Guideline

calculations or the defendant 's criminal history category are different from that stated

above, the parties may not withdraw from this Plea Agreement and the defendant            will   be

sentenced pursuant to the Court's determinations.
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         7.     Special Assessment. The Guidelines require payment                 of a    special

assessment    of $100 for each felony count of which the defendant is convicted. USSG

S5E1.3. The defendant agrees that he is obligated to pay this amount.

         8.     Waiver of Freedom of Information Act and Privacy Act. In exchange for

the concessions of the United States made herein, the defendant agrees to waive all rights

to obtain, directly or through others, information about the investigation and prosecution

of this case under the Freedom of Information Act and the Privacy Act of 1974,5 U.S.C.

$$ 552, 5524.

         9.     Forfeiture. The defendant agrees to forfeit to the United     States, pursuant to

Title   18, United States Code, Section 982(a)(2)(B),   Title   18 U.S.C. $ 844(c), and   Title 28,

United States Code, Section 246I(c), all of the defendant's right, title and interest in the

property described in the Forfeiture Allegation of the Information.


         10.    Restitution. The defendant understands and agrees that the Mandatory

VictimRestitutionAct (MVRA),        18 U.S.C. $ 3663A, applies      andthatthe Court is required

to order the    defendant   to make restitution to the victims of his crimes. There is no

agreement with regard to the amount of restitution; however, the defendant understands

and agrees that the Court may order the defendant to make restitution to any victims of his

crimes regardless of whether the victim was named in the Indictment or whether the victim

is included in the count of conviction. The defendant     will fully   and completely disclose to

the United States Attorney's Office the existence and location of any assets in which the

defendant has any right, title, or interest. The defendant agrees to assist the United States
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in identifying, locating, returning, and transfening assets for use in payment of restitution

and fines ordered by the Court. The defendant agrees to     fully   and truthfully complete a

financial statement at least 30 days before the date of sentencing.

         1   1.   Complete Asreement. This, along with any agreement signed by the parties

before entry of plea, is the entire agreement and understanding between the United States

and the defendant.



Dated:                                      ERICA H. MacDONALD




                                            BY: BRADLEY M. ENDICOTT




                                            PAUL
